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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,

                             Plaintiffs,
                      v.                       Case No. 22-cv-0098-WMW-JFD
 MICHAEL J. LINDELL and MY
 PILLOW, INC.,

                             Defendants.


 DECLARATION OF JULIE M. LOFTUS IN SUPPORT OF SMARTMATIC’S
 SUBMISSION IN RESPONSE TO DEFENDANTS’ MOTION TO WITHDRAW
  AS ATTORNEYS AND THE COURT’S ORDER DATED OCTOBER 5, 2023

       I, Julie M. Loftus, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am over the age of 18, I am competent to make this declaration, and I have

personal knowledge of the facts stated herein. These facts are true to the best of my

knowledge, information, and belief, and if called upon to testify as a witness, I could and

would testify competently to them.


       2.     I am an attorney at the law firm Benesch, Friedlander, Coplan & Aronoff,

LLP, and I represent Plaintiffs Smartmatic USA Corp., Smartmatic International Holding,

B.V., and SGO Corporation Limited (“Smartmatic”) in the above-captioned dispute.


       3.     Attached as Exhibit 1 is a true and correct copy of an email I received from

no-reply@frankspeech.com on October 5, 2023.
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I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.




Executed on October 6, 2023                  Julie M. Loftus
